Case 1:22-cv-01989-KMW-MJS Document 16 Filed 07/12/22 Page 1 of 2 PageID: 177




MATTHEW J. PLATKIN
ACTING ATTORNEY GENERAL OF NEW JERSEY
R. J. Hughes Justice Complex
P.O. Box 116
Trenton, New Jersey 08625
Attorney for Defendants,
       Gurbir S. Grewal, the Atlantic County Prosecutor's
       Office, and Michael Mattioli

By:    Peter Sosinski (NJ ID# 210552017)
       Deputy Attorney General
       (609) 376-2776
       Peter.sosinski@law.njoag.gov

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                          VICINAGE OF CAMDEN

  MARC A. STEPHENS,                             Hon. Karen M. Williams, U.S.D.J.
                                                Hon. Matthew J. Skahill, U.S.M.J.
      Plaintiff,
                                               CIVIL ACTION NO. 22-cv-01989
         v.

  GURBIR S. GREWAL, et al.,                                 Civil Action

                                            NOTICE OF MOTION TO DISMISS
      Defendants.                             PLAINTIFF’S COMPLAINT


TO: CLERK OF THE COURT
    United States District Court
    District of New Jersey
    Camden Vicinage
    (Electronically Filed)

       271 ROSEMONT PL
       ENGLEWOOD, NJ 07631
       PRO SE PLAINTIFF

       cc: Counsels on Record
Case 1:22-cv-01989-KMW-MJS Document 16 Filed 07/12/22 Page 2 of 2 PageID: 178




      PLEASE TAKE NOTICE that on August 15, 2022, or at such other time as

may please the Court, the undersigned Matthew J. Platkin, Acting Attorney General of

New Jersey, by Peter Sosinski, Deputy Attorney General, appearing on behalf of

Defendants Gurbir S. Grewal, the Atlantic County Prosecutor's Office, and Michael

Mattioli shall move before the Hon. Karen M. Williams, U.S.D.J., Mitchell H. Cohen

Building & U.S. Courthouse, 4th & Cooper Street, Camden, New Jersey 08101, for entry

of an Order dismissing Plaintiff’s Complaint against Defendants for failure to state a

claim pursuant to F.R.Civ.P. 12(b)(6) and/or for those reasons set forth in the appended

brief, and incorporated herein by reference as if set forth herein.



                                  MATTHEW J. PLATKIN
                                  ATTORNEY GENERAL OF NEW JERSEY

                            By: s/ Peter Sosinski
                                  Peter Sosinski
                                  Deputy Attorney General

DATED: July 12, 2022
